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wEsTERN DIvIsIoN

 

 

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CECIL JOHNSON, JR.,
plaintiff,

vs. Civ. No. 04»2140-B[P

CADILLAC OF MEMPHIS, et al.,

Defendants.

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ORDER DENYING WITHOUT PREJUDICE PLAINTIFF'S MOTION TO WITHDRAW

 

Before the court is plaintiff's Motion to Withdraw, filed June
7, 2005 (dkt #18). A review of the record shows that plaintiff did
not comply with Local Rule 83.1{h) which states that

no attorney of record may withdraw in any case
except on written motion and court order. All
motions for leave to withdraw shall include
the reasons requiring withdrawal and the name
and address of any substitute counsel. If the
name of substitute counsel is not known, the
motion shall set forth the name, address and
telephone number of the client, as well as the
signature of the client approving the
withdrawal or a certificate of service on the
client. Ordinarilyg withdrawal will not be
allowed if withdrawal will delay the trial of
the action.

Thls document entered on the docke&lsheet in compliance
with Ru|e 58 andfor ?Q(a) FRCP on

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Therefore, plaintiff’s motion is DENIED, without prejudice. The
plaintiff may renew his motion by complying with Local Rule
83.l(h).

IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge

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Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02140 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

